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                                                                                                  10/21/2020


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JEAME E. JOHNSON                              Law DnpIRTMENT                                              Sharon Sprayregen
Corporation Counsel                               IOOCHURCH STREET                                       phone:212-356-0873
                                                  NEW YORK, NY IOOOT                                        fax:212-356-2088
                                                                                                 ernail : ssprayre@law.nyc. gov
                                                                                                              (not for service)


                                                                       October 21,2020



         Via ECF
         Honorable Katherine H. Parker
         United States Magistrate Judge
         United States District Court
         500 Pearl Street
         New York, NY 10007

                        Re:     Washington v. The City of New York, et a1.., l9-CY-5395 (PGG) (KHP)

         Dear Judge Parker:

                 I am the Assistant Corporation Counsel assigned to the defense of the City of New York
         and Reverend Robles in above-referenced action, in which Plaintiff alleges that he had not been
         permitted to attend religious services.

                 I write to request an adjournment of the conference scheduled for today at 2 pm. I have
         just been informed that Mr. Washington will not be available for the conference, and the earliest
         the facility can make him available is Octob er 23,2020. I apologize for the timing of this letter.r

                                                                       Respectfully,

                                                                              ls/

                                                                       Sharon Sprayregen
                                                                       Assistant Corporation Counsel



          I Though I was informed by New York State Department of Correction and Community
         Supervision (DOCCS), which is not a New York City agency, that Mr. Washington was
         transferred to a different DOCCS facility yesterday, October 20,2020,I was also told that the
         new facility "was informed of [the] call and he should be able to make it."
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The telephonic Status Conference in this matter previously scheduled for Wednesday, October 21, 2020 at
2:00 p.m. is hereby rescheduled to Wednesday, November 4, 2020 at 10:30 a.m. It is hereby ordered that the
Warden of other official in charge of the Gowanda Correctional Facility produce Plaintiff Landon L.
Washington, DIN No. 20-R-0522 on October 21, 2020 by no later than 2:00 p.m., to a suitable location within
the Gowanda Facility that is equipped with a telephone, for the purpose of participating by telephone in a
conference with the Court and Defendant’s counsel. If the scheduled time and date presents a hardship, the
Warden or the Warden’s designee should promptly inform chambers by calling Courtroom Deputy Chris
Aiello at (212) 805-0234. Defendant’s counsel is directed to call Judge Parker’s teleconference line at the
scheduled time with the Plaintiff already on the phone. Please dial (866) 434-5269, Access code: 4858267.
The Clerk of Court is requested to mail a copy of this order to the Plaintiff and Warden in charge of the
Gowanda Correctional Facility:

PLAINTIFF:                                      WARDEN:
Landon L. Washington                            Gowanda Correctional Facility
DIN#20R0522                                     South Road
INMATE MAIL                                     P.O. Box 350
South Road                                      Gowanda, NY 14070-0350
P.O. BOX 311
Gowanda, NY 14070-0311




                                                                                         10/21/2020
